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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:15-cv-22134-UU

  HYDENTRA HLP INT. LIMITED,

          Plaintiff,

  v.

  CONSTANTIN LUCHIAN, et al.,

        Defendants.
  ___________________________________/

                                         OMNIBUS ORDER

          THIS CAUSE is before the Court upon Defendants’ Motions for Summary Judgment

  (D.E. 72, 73), and Plaintiff’s Motion for Partial Summary Judgment (D.E. 86).

          THE COURT has reviewed the Motions, the pertinent portions of the record and is

  otherwise fully advised in the premises.

                                          BACKGROUND

          The instant case arises out of the uploading of Plaintiff’s protected videos onto

  Defendants’ websites by third-party users.       Plaintiff claims that Defendants are liable for

  copyright and trademark infringement, and unauthorized use of name and likeness in violation of

  Florida law. The following facts are undisputed unless otherwise noted.

       A. Plaintiff, Hydentra HLP Int. Limited, and its Intellectual Property

          Plaintiff is the producer, distributor, and exclusive licensor of adult-content videos. D.E.

  76-1, Krogman Decl. ¶ 3. Plaintiff also owns and/or is licensed to operate a group of erotic

  websites, commonly known as the MetArt Network, which allows the viewing of adult

  entertainment properties. Id. ¶ 5. These websites include: MetArt.com, SexArt.com, Errotica-



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  Archives.com,     EroticBeauty.com,       TheLifeErotic.com,      RylskyArt.com,       ALSScan.com,

  VivThomas.com,       EternalDesire.com,      Stunning18.com,       HollyRandall.com,      domai.com,

  goddessnudes.com, and bbfilms.com. Id. Some of these websites include content produced by

  Plaintiff, while others contain content for which Plaintiff has obtained licensing rights. Id.

         Plaintiff’s websites are paid membership sites. Id. ¶ 24. Plaintiff’s intent is that its

  videos can be accessed only through its paid membership sites. Id. Plaintiff’s business model is

  simply that a user must be a paid member to Plaintiff’s website in order to view Plaintiff’s

  copyrighted videos. Id. ¶ 6. Plaintiff also engages in the limited licensing of its original content

  to other entities or websites for viewing, in addition to supplying a small sample of promotional

  materials to Plaintiff’s affiliates for the sole purpose of promoting Plaintiff’s websites. Id. ¶ 8.

         Defendant, Sun Social Media, Inc. (“SSM”), provides online viewing services for four

  websites: Playvid.com, Playvids.com, Peekvids.com, and Feedvid.com. D.E. 73-2, Bolotin Decl.

  ¶ 2. Plaintiff located its copyrighted videos on SSM’s four Websites as follows: thirty-seven

  (37) Plaintiff-produced videos on Playvid.com (D.E. 76, Ex. 2 ¶¶ 4, 14-5), two (2) videos on

  Feedvid.com (Id. ¶¶ 51-54), five (5) videos on Peekvids.com (Id. ¶¶ 51-61), and twenty-eight

  (28) videos on Playvids.com (Id. ¶¶ 62-92).

         Plaintiff is currently the owner of the trademarks, “Metart” and “Sexart,” which are the

  trademarks at issue in this case. D.E. 126, p. 46-47 ¶ 3. Hydentra, L.P. HLP General Partner

  Inc. filed trademark registrations for “MetArt” in October 2003 and “Sex Art” in June 2011.

  D.E. 76-1 ¶ 9; Ex. A-B. On May 2, 2015, prior to the initiation of this lawsuit, Hydentra, L.P.

  HLP General Partner Inc. assigned the trademarks “Metart” and Sexart” to Hydentra HLP Int.

  Limited, which is the named Plaintiff in this current lawsuit. D.E. 126, p. 46-47 ¶ 3.




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     B. Defendant, Sun Social Media, Inc., and Defendants’ Websites, Playvid.com,
        Playvids.com, Peeksvids.com, and Feedvid.com

         In 2010, SSM started as an online social media company and initially operated a dating

  website called FindandTry.com. Bolotin Decl. ¶ 3. In approximately 2013, SSM developed a

  video-hosting website, Playvid.com, to allow FindandTry.com users to share their videos.

  Bolotin Decl. ¶ 4. Since 2013, SSM has created other video-sharing websites in addition to

  Playvid.com, including PlayVids.com, PeekVids.com, and FeedVid.com.               Id. ¶ 4.    SSM,

  including its agents and contractors, does not upload any of the videos available on the Websites

  – the videos are uploaded by SSM’s users. Id. ¶ 6. On its Websites, SSM hosts more than

  475,000 videos that have been uploaded to the Websites by its users. Id. ¶ 7.

         To post videos on any of SSM’s Websites, a user must sign up to become a member of

  SSM. D.E. 74-1, Bolotin Dep. 65:18-20. The user is only required to submit a user name and an

  e-mail address in order to become a member of SSM and to log into any of SSM’s four

  Websites.    D.E.74-1, Bolotin Dep. 43:11-16.        The Websites do not require any e-mail

  verification to activate a membership with the Websites. D.E. 74-1, Bolotin Dep. 48:10-21.

  Membership to SSM’s Websites provides a user with the ability to upload a video, conduct later

  playback of the videos, and organize videos on any of the four Websites that are at issue in this

  case. D.E. 74-1, Bolotin Dep. 62:11-25, 63:1-12.

         Pursuant to the Terms of Use/Terms of Service on each of the Websites, SSM requires

  that its users only upload videos that do not contain the intellectual property of anyone other than

  the person uploading the file or of a person who has given the uploader appropriate permission to

  upload the video. D.E. 73-2, Bolotin Decl. ¶ 8. SSM requires that the uploader of a video affirm

  that s/he owns the intellectual property to the video, and/or has the necessary license to upload




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  the video onto the Websites. Id. ¶¶ 9-10. The user must agree to these terms before s/he uploads

  the video to the Websites. Id. ¶ 11.

         A moderator reviews every video that is uploaded to the SSM sites before being

  displayed live on the sites. D.E. 74-1, Bolotin Dep. 190:8-11. The moderator is an independent

  contractor hired by SSM. D.E. 74-1, Bolotin Dep. 190:22-23. The videos are reviewed for child

  pornography, animal pornography, spam, and to ensure that the video constitutes adult

  entertainment. D.E. 74-1, Bolotin Dep. 193:18-25, 194:1-4. The independent contractor has the

  ability to block videos if the videos do not constitute adult entertainment and/or fall into one of

  the prohibited categories. Id. However, the independent contractor does not review any of the

  videos by way of content producer, quality, actor, or video length. Bolotin Dep. 193:18-21.

     C. Defendant, Konstantin Bolotin

         Defendant, Konstantin Bolotin (“Bolotin”), is the Director of Operations at SSM, which

  owns and operates Playvid.com, Feedvid.com, Playvids.com, and Peekvids.com. D.E. 1 ¶ 3.

  Bolotin did not upload any of the files-in-suit in this case. D.E. 73-2 ¶ 17.

     D. Defendant, Constantin Luchian

         Defendant, Constantin Luchian (“Luchian”) is an owner, employee, and director of

  IncorporateNow, Inc. D.E. 72-2, Luchian Decl. ¶ 1. IncorporateNow, Inc. is a company that

  provides administrative and financial services to its clients in the areas of corporate formation

  and compliance, financial services, Digital Millennium Copyright Act (“DMCA”) agent services,

  and trademark registration services. Id. ¶¶ 2-3. SSM utilizes IncorporateNow, Inc.’s services in

  the following ways: (1) IncorporateNow, Inc. assists SSM in the preparation and filing of SSM’s

  incorporation papers; (2) IncorporateNow, Inc. provides bookkeeping services to SSM, and (3)




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  IncorporateNow, Inc. serves as the designated DMCA agent for receipt of take-down notices that

  are sent to SSM. Id. ¶ 6.

         SSM and IncorporateNow, Inc. do not have common ownership. Id. ¶ 7. Luchian is not

  an employee, director, or owner of SSM. Id. ¶ 8. Neither IncorporateNow, Inc. nor Luchian

  maintain any control over the Websites at issue. Id. ¶ 10. In addition, IncorporateNow, Inc. and

  Luchian do not have access or control over what is posted on the Websites. Id. ¶ 11. They can

  neither remove materials from the Websites nor do they have access to the servers on which the

  Websites are hosted. Id. Neither IncorporateNow, Inc. nor Luchian has any financial interest in

  the performance of SSM or the Websites. Id. ¶ 12. Luchian did not upload any of the files-in-

  suit in this case. Id. ¶ 14. He did not upload any videos onto the Websites, and he did not have

  any actual knowledge of infringement on the Websites. Id. ¶¶ 15-16.

      E. SSM’s Digital Millennium Copyright Act Designated Agent

         Pursuant to 17 U.S.C. § 512(c)(2), otherwise known as the Digital Millennium Copyright

  Act (“DMCA”), a service provider 1 is shielded from liability for the acts of third-party users

  when certain criteria is met, including the designation of an agent to receive notifications of

  claimed infringement. Since September 2010, SSM has designated a DMCA Agent, Constantin

  Luchian, and has made that contact information available on each of the Websites. D.E. 73-2,

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    Throughout its briefing, Plaintiff makes the argument that only SSM and Playvid.com should
  be considered service providers because they are the only two entities that were registered and/or
  included in the Registration filed with the United States Copyright Office. Plaintiff’s
  representation is untrue because SSM is listed as the service provider, and Playvid.com is listed
  as an alternative name for SSM on the Registration. Bolotin Dec. ¶ 24; Ex. 2. Regardless,
  Plaintiff cites no case law for the proposition that an internet service provider must be federally
  registered as an internet service provider. Section 512(k)(1)(A) defines “service provider” as “an
  entity offering the transmission, routing, or providing of connections for digital online
  communications, between or among points specified by a user, of material of the user’s
  choosing, without modification to the content of the material as sent or received.” Furthermore,
  the term “service provider” means a provider of online services or network access, or the
  operator of facilities therefor[.]” Id. at (B).
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  Bolotin Decl. ¶ 20. At all times relevant to this case, every page of the Defendants’ Websites

  contained a link to a copyright notification page listing SSM’s DMCA Agent’s contact

  information. Id. ¶ 21. On its Websites, SSM provides four ways in which a party may submit

  claims of copyright infringement: (1) by sending an e-mail to any of the five different e-mail

  addresses (including the ones listed on SSM’s registration with the Copyright Office), (2) by

  sending physical copies of a notification to SSM’s DMCA agent registered with the Copyright

  Office or at the address disclosed on the websites, (3) by sending a fax of a notification to SSM’s

  DMCA Agent, which is also listed with the Copyright Office and on the websites), or (4) by

  using the “Contact Us” form on any of the Websites. SSM Int. Resp., p. 10. According to SSM,

  when SSM receives notices of alleged copyright infringement by e-mail, SSM disables access to

  the allegedly infringing file within 48 business hours of receipt. D.E. 73-2, Bolotin Decl. ¶ 29.

          In September 2010, SSM filed its first “Interim Designation of Agent to Receive

  Notification of Claimed Infringement” with the United States Copyright Office. Id. ¶ 24; Ex. 2.

  The Designation of Agent lists “Sun Social Media Inc.” as the service provider, and SSM’s

  alternative names as “findandtry.com” and “playvid.com.” Id. At all times relevant to this case,

  Constantin Luchian was listed as the designated DMCA agent who should receive notification of

  infringement at 6750 N. Andrews Avenue, Suite 200, Fort Lauderdale, Florida 33309. Id.

      F. SSM’s Infringement Policies and Procedures

          SSM acts to remove files upon receipt of notification that infringing content may be

  displayed. D.E. 73-2, Bolotin Decl. ¶ 14. When SSM receives notice that any of the content on

  its websites infringes a third party’s rights, SSM has systems in place to remove such content.

  Id. ¶ 15.




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         SSM utilizes two back-ended systems to process copyright take-down requests: its

  custom Ticket System and its customer Blocking Tools Systems (“BTS”). SSM Int. Resp., p. 10.

  If a notice is delivered to any of SSM’s listed e-mail addresses or is sent using any of the Contact

  Us forms on the Websites, a ticket is created in the Ticket System and reviewed within 48 hours

  for assignment to the BTS. SSM Int. Resp., p. 10. Notices that are sent to SSM’s DMCA Agent

  via mail, or other physical means, are generally scanned within 48 business hours and e-mailed

  to SSM, which then manually processes all notices and inserts them into the BTS. SSM Int.

  Resp., p. 11.

         The BTS automatically collects the necessary information about the allegedly infringing

  file, removes the file from the Websites, and runs the notice through its automated repeat

  infringer policy code to determine whether the request triggers the termination of the user who

  uploaded the complained of content. SSM Int. Resp., p. 11; Bolotin Decl. ¶¶ 30-31.

         With respect to specific users, SSM has implemented a policy under which it terminates

  repeat infringers. D.E. 73-2, Bolotin Decl. ¶ 13. The Terms of Use/Terms of Service for each of

  the Websites and on the Copyright page for each of the Websites states, “As part of our repeat-

  infringement policy, any user for whose User Submissions or Third Party Content we receive

  three good-faith and effective complaints within a six-month period will be barred from using the

  website.” SSM Int. Resp., p. 12. SSM has implemented its repeat infringer policy by building it

  directly into the back-end of its website, which is the BTS discussed above, and automatically

  runs the repeat infringer test on every single take-down notice received by SSM and terminates

  any user who has violated SSM’s repeat infringer policy. SSM Int. Resp. p. 12-13. Upon receipt

  of a third take-down notice received within a period of six months, SSM automatically

  terminates the member. D.E. 74-1, Bolotin Dep. 170:1-3. The notices are site specific, meaning



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  that the three notices must be received on one specific site. D.E. 74-1, Bolotin Dep. 174:7-11. A

  member’s status will not change for the other Websites unless three violations are received on

  that specific site. D.E. 74-1, Bolotin Dep. 180:1-6. SSM has terminated over one thousand users

  pursuant to its repeat infringer policy. SSM Int. Resp., p. 12-13; Bolotin Decl. ¶ 38.

         SSM does not take actions to interfere with any measure copyright owners might use to

  identify or protect their copyrighted works. SSM Int. Resp., p. 13. Consequently, SSM does not

  alter any of the content uploaded by users onto the Websites other than to format it for proper

  playback on the Internet. SSM Int. Resp., p. 13. SSM does not remove or interfere with any

  watermarks or logos on the works that its third-party users upload to the Websites. SSM Int.

  Resp., p. 13.

     G. SSM’s Revenue

         With the exception of a small amount of revenue from SSM’s affiliate relationship with

  another adult website, Brazzers, SSM’s revenue from the Websites is derived solely from

  advertisements on its Websites. SSM Int. Resp., p. 12; Bolotin Decl. ¶ 19. SSM neither charges

  its users to upload any content onto the Websites nor does it charge users to view any content on

  the Websites. SSM Int. Resp., p. 12. Revenue is generated from SSM’s affiliate relationship

  with Brazzers when a user of Defendants’ websites purchases a subscription from Brazzers after

  following a link to Brazzers from the Websites. Id.

         In most cases, advertisers do not select where the advertisements will be placed on the

  Websites. SSM Int. Resp., p. 12. SSM does not solicit advertisers with any statements that the

  content on its Websites is infringing. SSM Int. Resp., p. 12. SSM does not directly solicit

  advertisers – all of the advertisements on its websites occur as a result of a transaction with

  advertising brokers or through advertisers who approach SSM on their own. SSM Int. Resp., p.



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  12. SSM does not solicit those advertising brokers with any statements that the content on its

  websites is infringing. SSM Int. Resp., p. 12.

      H. Knowledge of the Alleged Copyright Infringement

         Plaintiff employs vendors to investigate copyright infringement, send take-down notices

  for detected infringements of Plaintiff’s copyrights, and document infringements when take-

  down notices are ignored and/or websites do not qualify for DMCA safe harbor protections.

  D.E. 1 ¶ 11; Ex. 2 ¶ 3. In this case, Plaintiff retained Battleship Stance LLC to investigate

  copyright and trademark violations. D.E. 76-2, Tucker Decl. ¶ 3. Jason Tucker (“Tucker”) is the

  Director of Battleship Stance LLC, and was hired by Plaintiff to investigate potential

  infringement. Id. Tucker discovered a total of 37 of Plaintiff’s copyrighted movies displayed for

  free on the website, Playvid.com. Id. ¶ 4. The website also contained Plaintiff’s two registered

  trademarks, “MetArt” and “SexArt,” in the meta tags for the pages that displayed these videos.

  D.E. 76-2, Tucker Decl. ¶ 10.

         Tucker searched the United States Copyright Office Internet Service Provider database

  and discovered that SSM filed a Designation of Agent to Receive Notification of Claimed

  Infringement, which listed Playvid.com as an alternative name for SSM. D.E. 76-2, Tucker

  Decl. ¶ 5. Based on the information he found, Tucker sent over 70 DMCA takedown notices to

  Luchian, who was listed as SSM’s Designated DMCA Agent, at 6750 N. Andrews Avenue, Suite

  200, Fort Lauderdale, Florida 33309 on January 15, 2015. Id. ¶ 7; Ex. D. 2 Tucker did not send

  take-down notices to Defendants’ Designated Agent as to the videos located on

  Playvids.com.com, Peekvids.com, and Feedvid.com.         Each take-down notice included the
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    Luchian has testified that his company, IncorporateNow, Inc., uses “Regus” at its Regus
  Cypress Park West #1870 office at 6750 North Andrews Avenue, Second Floor in Fort
  Lauderdale, Florida for “virtual” office space services. Luchian Decl. ¶ 18. When packages and
  mail for IncorporateNow, Inc. are delivered to Regus at the Office, they are delivered to a
  receptionist in the waiting room of the office. Id. ¶ 19.
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   following information:    a signature of the person who was authorized to act on behalf of

   Hydentra, identification of Hydentra’s copyrighted movie infringed, identification of the material

   on playvid.com that is infringing Hydentra’s copyright that is to be removed or disabled, along

   with the exact URL of the material, contact information for Hydentra’s agent, a statement that

   Plaintiff has a good faith belief that use of the material is not authorized, and a statement, under

   penalty of perjury, that the information in the notification is accurate and the agent is authorized

   to act on behalf of Plaintiff. Tucker Decl. ¶¶ 6-9, 14-50; Ex. 2.

          On January 20, 2015, the package sent by Tucker was delivered through the United States

   Postal Service. D.E. 76-2, D-1. A woman named Carmen Jusino signed for the package on

   behalf of IncorporateNow, Inc., with tracking number 9468 7036 9930 0000 6353 65 Id. ¶ 21.

   Luchian never personally received the package with tracking number 9468 7036 9930 0000 6353

   65 and claims that it was lost after Jusino signed for the package. Luchian Decl. ¶¶ 22-23. SSM

   claims that it never received these takedown notices and was unaware of the allegedly infringing

   files until this lawsuit. Bolotin Decl. ¶ 35. In the past, Hydentra has sent copyright notices to

   SSM, both before and after January 2015, which SSM promptly responded to by disabling access

   to the complained of files and by terminating appropriate users in accordance with the repeat

   infringer policy. Bolotin Decl. ¶ 37.

          On June 4, 2015, Plaintiff filed its Complaint against Defendants.          D.E. 1.    Upon

   receiving a copy of Exhibit A to the Complaint identifying the copyrighted files, SSM disabled

   access to and/or removed the files from the Websites that were referenced in the Complaint.

   Bolotin Decl. ¶ 34.




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                                         LEGAL STANDARD

            Summary judgment is authorized only when the moving party meets its burden of

   demonstrating that “the pleadings, depositions, answers to interrogatories and admissions on file,

   together with the affidavits, if any, show that there is no genuine issue as to any material fact and

   that the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56. When

   determining whether the moving party has met this burden, the Court must view the evidence

   and all factual inferences in the light most favorable to the non-moving party.” Adickes v. S.H.

   Kress & Co., 398 U.S. 144, 157 (1970); Rojas v. Florida, 285 F.3d 1339, 1341-42 (11th Cir.

   2002).

            The party opposing the motion may not simply rest upon mere allegations or denials of

   the pleadings; after the moving party has met its burden of proving that no genuine issue of

   material fact exists, the non-moving party must make a showing sufficient to establish the

   existence of an essential element of that party’s case and on which that party will bear the burden

   of proof at trial.” See Celotex Corp. v. Catrell, 477 U.S. 317 (1986); Poole v. Country Club of

   Columbus, Inc., 129 F.3d 551, 553 (11th Cir. 1997); Barfield v. Brierton, 883 F.2d 923, 933

   (11th Cir. 1989).

            If the record presents factual issues, the Court must not decide them; it must deny the

   motion and proceed to trial. Envntl. Def. Fund v. Marsh, 651 F.2d 983, 991 (5th Cir. 1981).

   Summary judgment may be inappropriate even where the parties agree on the basic facts, but

   disagree about the inferences that should be drawn from these facts. Lighting Fixture & Elec.

   Supply Co. v. Cont’l Ins. Co., 420 F.2d 1211, 1213 (5th Cir. 1969). If reasonable minds might

   differ on the inferences arising from undisputed facts, then the Court should deny summary

   judgment. Impossible Elec. Techs., Inc. v. Wackenhut Protective Sys., Inc., 669 F.2d 1026, 1031



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   (5th Cir. 1982); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (“[T]he

   dispute about a material fact is ‘genuine’ . . . if the evidence is such that a reasonable jury could

   return a verdict for the nonmoving party.”)

          Moreover, the party opposing a motion for summary judgment need not respond to it

   with evidence unless and until the movant has properly supported the motion with sufficient

   evidence.   Adickes, 398 U.S. at 160.         The moving party must demonstrate that the facts

   underlying the relevant legal questions raised by the pleadings or are not otherwise in dispute, or

   else summary judgment will be denied notwithstanding that the non-moving party has introduced

   no evidence whatsoever. Brunswick Corp. v. Vineberg, 370 F.2d 605, 611-12 (5th Cir. 1967).

   The Court must resolve all ambiguities and draw all justifiable inferences in favor of the non-

   moving party. Liberty Lobby, Inc., 477 U.S. at 255.

                                              ANALYSIS

          In this case, the parties have filed Cross-Motions for Summary Judgment on each of

   Plaintiff’s claims. D.E. 73, 86. Defendant, Constantin Luchian (“Luchian”), has filed his own

   Motion for Summary Judgment. D.E. 72. In its Complaint, Plaintiff alleges the following claims

   against all Defendants: (1) direct copyright infringement arising under the Copyright Act, 17

   U.S.C. §§ 101, et seq., (2) contributory copyright infringement, (3) vicarious copyright

   infringement, (4) inducement of copyright infringement, (5) unauthorized publication of name

   and likeness in violation of Florida Statute section 540.08, (6) trademark infringement arising

   under Section 32 of the Lanham Act, 15 U.S.C. §§ 1114 et seq., (7) contributory trademark

   infringement, and (8) false designation of origin under the Lanham Act, 15 U.S.C. § 1125. D.E.




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   1. 3   Because the parties’ Motions address each of Plaintiff’s claims, the Court separately

   considers the parties’ arguments with respect to each claim and the elements required to prove

   each claim. 4

           The Copyright Act of 1976 (“Copyright Act”), 17 U.S.C. §§ 101 et seq., is the

   congressional implementation of an affirmative constitutional duty under the copyright and

   patent clause “[t]o promote the Progress of Science and useful Arts, by securing for limited

   Times to Authors and Inventors the exclusive Right to their respective Writings and

   Discoveries.” Cable/Home Commc’n Corp. v. Network Prods., Inc., 902 F.2d 829, 842 (11th

   Cir. 1990) (citing U.S. Const. art. 1 § 8; Dallas Cowboys Cheerleaders, Inc. v. Scoreboard, Inc.,

   600 F.2d 1184, 1187 (5th Cir. 1979); Sony Corp of America. v. Universal City Studios, Inc., 464

   U.S. 417, 428-29, 104 S.Ct. 774, 782, 78 L.Ed.2d 574 (1984)). The Copyright Act “provides a

   fair return to authors and inventors by protecting their works from exploitation by others.”

   Cable/Home Cmmc’n, 902 F.2d at 842 (citing Harper & Row, Publishes, Inc. v. Nation Enters.,

   471 U.S. 539, 546, 105 S.Ct. 2218, 2223, 85 L.Ed.2d 588 (1985)).

           Trademarks are “any word, name, symbol, or device, or any combination thereof [used]

   to identify and distinguish [one’s] goods . . . from those manufactured or sold by others and to

   indicate the source of the goods.” 15 U.S.C. § 1127. Section 43(a) of the Lanham Act creates a
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     In their Motions, the Defendants indicated that they were moving for summary judgment as to
   all of the claims that Plaintiff alleged; however, there was no analysis whatsoever as to Plaintiff’s
   trademark infringement claims.
   4
     The Court is unclear as to why Konstantin Bolotin was named as a Defendant in this action. In
   its briefing, Plaintiff does not distinguish between Bolotin and Sun Social Media, Inc. for
   purposes of liability. Because Plaintiff has alleged in its Complaint that Bolotin acted within his
   capacity as Director of Operations at Sun Social Media, Inc. at all times relevant to this action,
   and Plaintiff’s Motion for Summary Judgment does not draw any meaningful legal distinction
   between the two, the Court will treat Bolotin and Sun Social Media, Inc. as one in the same for
   this case. The Court is similarly skeptical as to the legal basis for naming Constantin Luchian as
   a Defendant; however, because Luchian filed his own Motion for Summary Judgment, the Court
   will accordingly address any significant legal arguments within this Order.
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   federal cause of action for unfair competition by prohibiting the use in interstate commerce of

   any “word, term, name, symbol or device . . . or any false designation of origin . . . which is

   likely to cause confusion . . . origin, sponsorship, or approval of his or her goods, services, or

   commercial activities by another person.” 15 U.S.C. § 1125(a)(1); see also B&L Sales Assocs. v.

   H. Daroff & Sons, Inc., 421 F.2d 352, 353 (2d Cir. 1970) (noting that “the federal remedy against

   trademark infringement is not plenary, and is only available when the plaintiff can show a

   likelihood of confusion, mistake or deception arising in the market as a result of defendant’s use

   of the mark registered to plaintiff”).

   1.     COUNT I: DIRECT COPYRIGHT INFRINGEMENT

          In Count I of Plaintiff’s Complaint, Plaintiff alleges that Defendants directly copied,

   reproduced, and distributed Plaintiff’s copyrighted works by and through servers and/or

   hardware owned, operated and/or controlled by Defendants. D.E. 1 ¶ 102. Plaintiff alleges that

   Defendants’ website, Playvid.com, displayed 37 of Plaintiff’s copyright registered videos; the

   website, Feedvid.com, displayed 2 of Plaintiff’s copyright registered videos; the website,

   Playvids.com, displayed 28 of Plaintiff’s videos; and the website, Peekvids.com, displayed 5 of

   Plaintiff’s copyright registered videos. Id. ¶¶ 61, 66, 69, 72.

          In the context of a copyrighted film, a copyright owner “has the exclusive rights to”

   reproduce it, make derivative material based on it, distribute it, and display it. See Disney

   Enters., Inc. v. Hotfile Corp., 798 F. Supp. 2d 1303, 1307 (S.D. Fla. 2011) (citing 17 U.S.C. §

   106). “Anyone who violates any of [these] exclusive rights of the copyright owner . . . is an

   infringer of the copyright.” Id. (citing 17 U.S.C. § 501).

          To prevail on a claim for direct copyright infringement, Plaintiff must prove two

   elements: (1) that it owns a valid copyright to the videos in question, and (2) that Defendants



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   copied the original elements of the copyrighted materials. See Oravec v. Sunny Isles Luxury

   Ventures L.C., 469 F. Supp. 2d 1148, 1160 (citing Feist Pubs., Inc. v. Rural Tel. Serv. Co., 499

   U.S. 340, 361, 111 S.Ct. 1282, 113 L.Ed.2d 358 (1991); Calhoun v. Lillenas Publishing, 298

   F.3d 1228, 1232 (11th Cir. 2002)); see also Disney Enters., 798 F. Supp. 2d at 1307 (“Where a

   plaintiff shows that he owns a valid copyright and that the other party copied some of the protect

   elements of that work, he has shown direct infringement of his copyright.”).

          In this case, Defendants do not contest that Plaintiff owns a valid copyright for each of

   the videos at issue. The only question before this Court is whether Defendants may be held

   liable for direct infringement based upon third-party users’ uploading of Plaintiff’s copyrighted

   videos onto Defendants’ Websites. In their Motion for Summary Judgment, Defendants argue

   that it cannot be held liable for direct infringement because Defendants never undertook any

   volitional conduct to cause the videos to be uploaded onto its websites; rather, the third-party

   users simply used Defendants’ system to upload the files. In response, Plaintiff argues that

   Defendants engaged in volitional conduct by reviewing each video that was uploaded to

   Defendants’ servers before enabling the videos to be publicly displayed for free, thereby

   allowing Defendants to earn money from advertisers. Plaintiff then argues that there is a genuine

   issue as to whether Plaintiff’s videos were posted by third-party users of the Websites or whether

   Defendants themselves posted the videos based upon the Declaration of Plaintiff’s consultant,

   Jason Tucker.

          A. Volitional Conduct Requirement

          The Eleventh Circuit Court of Appeals has not considered whether volitional conduct is a

   necessary element for finding an internet company liable for direct copyright infringement. In

   Religious Technology Center v. Netcom On-Line Communication Services, 907 F. Supp. 1361,



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   1370 (N.D. Cal. 1995), the district court noted that “[a]lthough copyright is a strict liability

   statute, there should still be some element of volition or causation which is lacking where a

   defendant’s system is merely used to create a copy by a third party.” Disney Enters., Inc. v.

   Hotfile Corp., 798 F. Supp. 2d 1303, 1307 (S.D. Fla. 2011) (citing Religious Tech. Ctr. v.

   Netcom On-Line Comms. Servs., 907 F. Supp. 1361, 1370 (N.D. Cal. 1995)). In reaching its

   conclusion, the Netcom court recognized that “making an internet company liable for direct

   copyright infringement simply because it gave users access to copyrighted material posted by

   others ‘would create unreasonable liability.’” Netcom, 907 F. Supp. at 1372.

          Since Netcom, many courts have adopted this standard in considering whether an internet

   company may be held liable for direct copyright infringement that occurs as a result of a

   website’s third-party users. The Fourth Circuit Court of Appeals has stated:

                 To establish direct liability for copyright infringement . . . something more
                 must be shown than mere ownership of a machine used by others to make
                 illegal copies. There must be actual infringing conduct with a nexus
                 sufficiently close and causal to the illegal copying that one could conclude
                 that the machine owner himself trespassed on the exclusive domain of the
                 copyright owner. The Netcom court described this nexus as requiring
                 some aspect of volition.

   CoStar Grp. v. LoopNet Inc., 373 F.3d 544, 550 (4th Cir. 2004) (emphasis added); Cartoon

   Network LP, LLLP v. CSC Holdings, Inc., 536 F.3d 121, 130-33 (2d Cir. 2008); Parker v.

   Google, Inc., 422 F. Supp. 2d 492, 497-98 (E.D. Pa. 2006); Marobie-FL, Inc. v. Nat’l Ass’n of

   Fire Equip. Distribs & Nw. Nexus, Inc., 983 F. Supp. 1167, 1178 (N.D. Ill. 1997); see also

   Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 929-30, 125 S.Ct. 2764, 162

   L.Ed.2d 781 (2005) (“When a widely shared service or product is used to commit infringement,

   it may be impossible to enforce rights in the protected work effectively against all direct




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   infringers, the only practical alternative being to go against the distributor of the copying device

   for secondary liability on a theory of contributory or vicarious infringement.”).

           In addressing a direct infringement claim for purposes of a 12(b)(6) motion to dismiss, a

   court in the Southern District of Florida relied upon the Netcom standard and found that the

   pleading of a volitional act was necessary, acknowledging that “‘[k]nowledge coupled with

   inducement’ or ‘supervision coupled with a financial interest in the illegal copying’ gives rise to

   secondary liability, not direct-infringement liability.” Disney Enters., 798 F. Supp. 2d at 1309;

   see also Perfect 10, Inc. v. Giganews, Inc., No. CV-11-07098-AB, 2014 WL 8628034, at *8

   (C.D. Cal. Nov. 14, 2014) (“Again, a claim for direct liability requires evidence that the

   defendants directly or actively caused the infringement. Perfect 10’s continued insistence that

   defendants allowed its subscribers to upload, download, and view infringing material is the stuff

   of indirect or secondary liability, not direct liability.”); BWP Media USA, Inc. v. T&S Software

   Assocs., Inc., No. 3:13-CV-2961-BF, 2016 WL 1248908, at *2 (N.D. Tex. Mar. 25, 2016)

   (granting summary judgment in favor of defendants as to plaintiff’s direct copyright

   infringement claim because it was undisputed that the images at issue were posted by third-party

   users of the website).

           The Court agrees with Defendants that in imposing liability upon an internet service

   provider for third-party users’ uploading of copyrighted material, Plaintiff must establish that

   Defendants engaged in a volitional act to cause the illegal copying. To find otherwise would

   impose liability upon an otherwise passive internet service provider for conduct that is simply

   out of its control.

           Having concluded that Plaintiff must show that Defendants engaged in volitional

   conduct, the Court must also consider whether Defendants engaged in any conduct that can fairly



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   be described as volitional. In that regard, Plaintiff argues that Defendants engaged in volitional

   conduct by reviewing each video that is uploaded onto its servers and then, only after such

   review, by allowing each video to remain publicly displayed for free. In support of this, Plaintiff

   points to Defendants’ Statement of Undisputed Facts, where Defendants state, “[a] moderator

   reviews every video uploaded to the SSM sites before being displayed live on the sites. The

   moderator is an independent contractor under the supervision of Defendant, Bolotin. The videos

   are reviewed for child pornography, animal pornography, spam, and to ensure that the video

   constitutes adult entertainment.” D.E. 76 ¶ 28.

          With respect to Plaintiff’s contentions, the Court finds particularly persuasive the well-

   reasoned order in CoStar Group, Inc. v. LoopNet, Inc., 373 F.3d 544 (4th Cir. 2004), which is

   cited by and relied upon by Defendants. In CoStar, the plaintiff was a copyright owner of

   numerous photographs of commercial real estate and filed a copyright infringement action

   against defendant internet service provider for direct copyright infringement. Id. at 546. The

   basis of the plaintiff’s lawsuit was that defendant’s third-party subscribers posted plaintiff’s

   copyrighted photographs onto defendant’s website. Id. The plaintiff argued that the photographs

   were copied into defendant’s computer system, and therefore, defendant was a copier who was

   strictly liable for direct infringement of plaintiff’s copyrights, regardless of the fact that

   defendant acted in a passive capacity when the photographs were copied into its system. Id. at

   548.

          In affirming the district court’s entry of summary judgment in favor of the defendant on

   the direct infringement claim, the Fourth Circuit found that defendant, as an internet service

   provider, simply acted as the owner and manager of a system that was utilized by users who were

   violating the copyrights, and defendant was not, itself, an actual duplicator that could be held



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   strictly liable for copyright infringement. Id. at 546. The court found that “although [defendant]

   engages in volitional conduct to block photographs measured by two grossly defined criteria, this

   conduct, which takes only seconds, does not amount to ‘copying,’ nor does it add volition to

   [defendant’s] involvement in storing the copy.” Id. at 556. The court further held that the

   defendant’s conduct in blocking certain material was “so cursory as to be insignificant, and if it

   has any significance, it tends only to lessen the possibility that [defendant’s] automatic electronic

   responses will inadvertently enable others to trespass on a copyright owner’s rights.” Id. In

   performing this gatekeeping function, the court held that the defendant did not attempt to seek

   out or select photographs for duplication; rather, it merely prevented users from posting certain

   photographs. Id. Contrary to Plaintiff’s characterization of the case, the Fourth Circuit found

   that the defendant internet service provider did engage in affirmative conduct by prohibiting

   certain photographs, but nevertheless, the provider could not be found liable for direct copyright

   infringement because it did not directly contribute to the copying of the photographs.

          The Court finds that the conduct complained of in this case is similar to the conduct

   complained of in CoStar, where the internet service provider merely acted as a gatekeeper in

   prohibiting certain material from being posted on its site. It is undisputed that Defendants

   employ an independent contractor who prohibits certain videos from being posted based upon

   their content; however, there is no record evidence that Defendants engaged in any affirmative

   conduct to cause the copying of Plaintiff’s copyrighted videos, which would be necessary to

   allow Plaintiff to meet the volitional conduct prong of the direct infringement claim.

          Plaintiff relies upon the case of Arista Records LLC v. USENET.com, 633 F. Supp. 2d

   124, 148-49 (S.D.N.Y. June 30, 2009) for the proposition that by engaging in certain activity,

   including automated filtering, an internet service provider was liable for direct copyright



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   infringement. In finding that the internet service provider could be held liable, the court in Arista

   recognized that defendants undertook active measures to create services dedicated to mp3 files

   and to increase the retention times of newsgroups containing digital music files. Id. at 148. The

   court found that the defendants were aware that their copyrighted music files were the most

   popular items on their servers, they actively created servers dedicated to storing music files, and

   they increased the file retention time of newsgroups that shared music. Id. The defendants also

   had control over which newsgroups their servers would accept and store, and which they would

   reject. Id. at 144. In other words, the defendants’ service was not merely a “passive conduit”

   that facilitated the exchange of content between users who uploaded infringing content and users

   who downloaded such content; rather, they actively engaged in the process so as to satisfy the

   “volitional-conduct” requirement for direct infringement. Id. at 147-48.

          Unlike Arista, there is no record evidence that Defendants took active measures to create

   servers dedicated to certain videos and/or attracted traffic to the specific copyrighted files at

   issue in this case. Contrary to Plaintiff’s position, the Court does not find that Defendants’

   conduct in prohibiting certain material from being posted onto its Websites constitutes the

   volitional act that is required for purposes of establishing a direct infringement claim.

   Accordingly, Defendants’ Motion for Summary Judgment as to Count I is GRANTED, and

   Plaintiff’s Motion for Summary Judgment as to Count I is DENIED.

          B. Affidavit of Jason Tucker

          Plaintiff also argues that there is a question of fact as to whether Plaintiff’s videos were

   posted by members of the site, or whether Defendants themselves posted the videos. Plaintiff

   filed the Declaration of Jason Tucker who testified that 11 of Plaintiff’s videos were uploaded to

   Defendants’ sites from an internet protocol (“IP”) address of “0.00,” and such IP addresses do



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   not exist, outside Defendants’ internal servers. D.E. 119 ¶ 23-24. Plaintiff argues that Tucker’s

   conclusion demonstrates files were uploaded with direct access to Defendants’ servers and not

   through the Internet. In other words, only someone operating from within Defendants’ internal

   servers would have been able to upload these videos with such an IP address. Defendants

   counter Tucker’s conclusion by arguing that SSM’s servers do not use the type of network

   architecture assumed by Mr. Tucker in his opinion because SSM’s servers are not on a private or

   local network. Bolotin Decl. ¶ 11. Defendants argue that the unusual IP addresses result from

   the actions of users around the world who are able to manipulate their IP addresses to disguise

   the IP address from where they are operating.

           Plaintiff relies upon Tucker’s declaration for the purposes of establishing that Defendants

   themselves uploaded some of the videos in question. According to his Declaration, Mr. Tucker

   is a director of Battleship Stance LLC, which is an intellectual property and anti-piracy

   investigation company. D.E. 119 ¶ 2. Plaintiff retained Battleship Stance LLC to “investigate

   copyright and trademark violations and assist in certain litigation to enforce its intellectual

   property rights.” Id. ¶ 8. Mr. Tucker attests that he reviewed the discovery produced in this

   case, which displayed the information specific to Plaintiff-owned content and was purported to

   have been uploaded to Defendants’ Websites. Id. ¶ 20. He states that of the 111 “pieces of

   Plaintiff’s video content” that were uploaded to the database, 11 of the uploaded videos display

   an internet protocol (“IP”) address “from which the video was uploaded” that begins with 0.0,

   and an IP address the begins with 0.0 means that it is from an internal, local network. D.E. 119.

   ¶¶ 23-24. Mr. Tucker concludes that “[a] 0.0 IP address cannot come from the outside, it has to

   be inside, on the server or in the network locally in order to generate or use an IP of this type.”

   Id. ¶ 25.



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          Plaintiff has not designated Mr. Tucker to testify as an expert witness in this case.

   Defendants have not moved to strike Mr. Tucker’s Declaration, and neglected to make any

   argument that Mr. Tucker’s purported testimony is improper; however, the Court does not find

   that Mr. Tucker may testify to the matters contained within his Declaration. A court may not

   consider inadmissible evidence when deciding a motion for summary judgment; and, “[e]ven if

   an affidavit does contain some inadmissible material, the court is not required to strike the entire

   affidavit,” but can instead “disregard the inadmissible portions.” Id.; Givhan v. Elec. Engineers,

   Inc., 4 F. Supp. 2d 1331, 1334 n.2 (M.D. Ala. 1998) (citing S. Concrete Co. v. United States

   Steel Corp., 394 F. Supp. 362, 380 (N.D. Ga. 1975), aff’d, 535 F.2d 313 (5th Cir. 1976) and Lee

   v. Nat’l Life Assurance Co., 632 F.2d 524, 529 (5th Cir.1980)).

          To be admissible, lay opinion testimony must be: (1) “rationally based on the witness’s

   perception,” (2) “helpful to clearly understanding the witness’s testimony or to determining a

   fact in issue,” and (3) “not based on scientific, technical, or other specialized knowledge within

   the scope of Rule 702.” Fed. R. Civ. P. 701; see Lebron v. Sec. of Fla. Dept. of Children &

   Families, 772 F.3d 1352, 1372 (11th Cir. 2014). This rule of evidence is designed to prevent

   parties from “proffering an expert in lay witness clothing” by ensuring that “testimony that is

   actually expert” satisfies the requirements of Rule 702. Lebron, 772 F.3d at 1372. “While lay

   witnesses may testify about their own immediate perceptions, testimony that blurs into

   supposition and extrapolation crosses the line into expertise.” Id. (citing Williams v. Mast

   Biosurgery USA, Inc., 644 F.3d 1312, 1317-18 (11th Cir. 2011) (treating testimony as expert

   when it “is based on a hypothesis, not the experience of” the witness); United States v.

   Henderson, 409 F.3d 1293, 1300 (11th Cir. 2005) (“the ability to answer hypothetical questions

   is ‘[t]he essential difference’ between the expert and lay witnesses”)).



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          In this case, the testimony of Jason Tucker is plainly offered to support the broad claim

   that Defendants themselves uploaded some of the copyright videos onto their websites based

   upon his review of the 111 IP addresses. This proposition is an inference well beyond what

   witnesses perceive in their day-to-day lives; rather, it is a conclusion that would require

   “specialized knowledge,” Fed. R. Civ. P. 701, and must be proved by an appropriately

   credentialed expert witness to be properly admitted. See UMG Recordings, Inc. v. Lindor, 531 F.

   Supp. 2d 453, 457 (E.D.N.Y. 2008) (admitting expert witness opinion explaining various

   technologies used to infringe copyrights of record companies over the internet and linking

   otherwise anonymous internet user with particular internet accounts).

          Other than being in the “business of legal adult entertainment production, marketing, and

   management,” and serving as a consultant for “the rollout of several versions of Windows

   Media,” there are no credentials within the Declaration pertaining to Mr. Tucker’s “knowledge,

   skill, experience, training, or education,” Fed. R. Civ. P. 702, which would allow him to testify

   on these grounds. Mr. Tucker’s anecdotal observations cannot support the sweeping claim for

   which they are being offered.

          Moreover, in putting aside Defendants’ arguments that Mr. Tucker’s observations are

   wrong because SSM does not even have an internal server, even if Mr. Tucker were qualified to

   attest to this, his opinions are far too speculative to be admissible. Mr. Tucker fails to identify

   what constitutes an “internal, local network,” and there is no evidence to substantiate that

   Defendants, or their agents or employees, had any involvement in these particular uploads.

   Therefore, the Court cannot consider Mr. Tucker’s testimony as it pertains to the IP addresses at

   issue. Accordingly, it follows that there is no question of fact that Defendants did not engage in

   volitional conduct that caused the copying of the videos.



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   2.     COUNTS    II-IV: SECONDARY     LIABILITY: CONTRIBUTORY
          INFRINGEMENT, VICARIOUS COPYRIGHT INFRINGEMENT, AND
          INDUCEMENT OF COPYRIGHT INFRINGEMENT

          In its Complaint, Plaintiff alleges a number of claims against Defendants for secondary

   liability, including (1) contributory copyright infringement, (2) vicarious copyright infringement,

   and (3) inducement of copyright infringement.

          A. Count II: Contributory Infringement

          The Eleventh Circuit has stated the well-settled test for a contributory infringer as “one

   who, with knowledge of the infringing activity, induces, causes or materially contributes to the

   infringing conduct of another.” Cable/Home Commc’n Corp. v. Network Prods., Inc., 902 F.2d

   829, 845 (11th Cir. 1990) (citing Casella v. Morris, 820 F.2d 362, 365 (11th Cir. 1987)); see also

   Sony, 464 U.S. at 437 (recognizing that the Supreme Court has defined a contributory infringer

   as one who “was in a position to control the use of copyrighted works by others and had

   authorized the use without permission from the copyright owner.”). Furthermore, the Eleventh

   Circuit has explicated that “[t]he standard of knowledge is objective: ‘Know, or have reason to

   know.’” Casella, 820 F.2d at 365 (quoting Gershwin Pub. Corp. v. Columbia Artists Mgmt.,

   Inc., 443 F.2d 1159, 1162 (2d Cir. 1971)). Nevertheless, contributory infringement will not be

   found if the product in question is capable of “substantial noninfringing uses,” which results in

   wide use “for legitimate, unobjectionable purposes.” Sony, 464 U.S. at 442.

          Defendant argues that it cannot be liable for contributory infringement because it did not

   have knowledge of the infringement on the Websites until it was notified in this lawsuit, after

   which it promptly removed the videos. Bolotin Decl. ¶ 35. Defendants also insist that they did

   not engage in conduct to induce the third parties into uploading the videos. Bolotin Decl. ¶ 30.

   In response, Plaintiff argues that Defendant knew, had reason to know, or was willfully blind to



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   its users’ infringement and materially contributed to that infringement. Plaintiff contends that

   Defendant knew of the specific infringements of Plaintiff’s works on Playvid.com because

   Plaintiff delivered notices of each specific instance of infringement to the Defendants’

   Registered DMCA Agent. Plaintiff further argues that Defendant had reason to know, or was

   willfully blind, to its users’ infringement on Playvid.com prior to the take-down notices and on

   Playvids.com, Peekvids.com, and Feedvid.com because it operates its websites in a fashion

   where the users are anonymous to even Defendant, the users are not required to provide real and

   accurate contact information, and Defendant fails to ensure communication capability with its

   members.

          It is undisputed that Plaintiff delivered a package of DMCA take-down notices pertaining

   to the 37 allegedly infringing videos listed on Playvid.com addressed to Defendant, Constantin

   Luchian, at the address listed with the Copyright Office. 5 D.E. 76-2, D-1. This package was

   signed for by C. Jusino. Luchian ¶¶ 18-21. It is further undisputed that Plaintiff did not send

   any take-down notices to Feedvid.com, Playvids.com, or Peekvids.com. Defendants dispute that

   they had knowledge of the infringement because they never received the package and based upon

   Luchian’s testimony, Ms. Jusino lost it. Luchian Decl. ¶¶ 18-23. Plaintiff argues that where an

   item is properly mailed, there exists a rebuttable presumption that the item was received by the

   5  In their briefing, Defendants fail to address the fact that Defendants’ three websites,
   Feedvid.com, Playvids.com, and Peekvids.com did not have actual notice of the infringing
   material because Plaintiff admittedly did not send DMCA take-notice notices to the sites. See
   UMG Recordings, Inc. v. Shelter Capital Partners LLC, 718 F.3d 1006, 1020 (9th Cir. 2013)
   (finding that a copyright holder’s “decision to forgo the DMCA notice protocol ‘strip[s] it of the
   most powerful evidence of a service provider’s knowledge – actual notice of infringement from
   the copyright holder’”). It is not the role of the Court to raise every possible argument that the
   parties may have made in their motions for summary judgment. See Resolution Trust Corp. v.
   Dunmar Corp., 43 F.3d 587, 599 (11th Cir. 1995) (“There is no burden upon the district court to
   distill every potential argument that could be made based upon the materials before it on
   summary judgment. Rather, the onus is upon the parties to formulate arguments; grounds
   alleged in the complaint but not relied upon in summary judgment are deemed abandoned.”).

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   addressee. See In re Farris, 365 F. App’x 198, 199 (11th Cir. 2010). There is no need for the

   Court to rely upon the mailbox rule’s rebuttable presumption because the record evidence is clear

   that the package was sent and received at the designated DMCA address.

          While there is no dispute as to the package being delivered and received, there is a

   dispute as to whether Defendants had knowledge of the package’s content.              Defendants

   vehemently dispute that they had knowledge of its contents. Neither party has cited cases, nor

   has the Court been able to locate cases, where a DMCA Designated Agent lost take-down

   notices, causing an internet service provider to incur liability for copyright infringement based

   upon constructive knowledge.       Whether Defendants had constructive knowledge of the

   infringement turns on Luchian’s credibility, an assessment that cannot be made in resolving a

   motion for summary judgment. See Strickland v. Norfolk Southern Ry. Co., 692 F.3d 1151, 1160

   (11th Cir. 2012) (“Such credibility determinations, based upon the district court’s decision to

   weigh the competing evidence, should have demanded that the defendant’s motion for summary

   judgment be denied.”).

          Notwithstanding this question of fact, Plaintiff can only succeed on its contributory

   infringement claim if Plaintiff establishes that the Websites in question are not capable of

   “substantial noninfringing uses.” See Cable/Home Commc’n, 902 F.2d at 845-46 (citing Sony

   Corp. of America v. Universal City Studios, Inc., 464 U.S. 417, 422 (1984)). Even “a defendant

   who distributes a product that materially contributes to copyright infringement will not be liable

   for contributory infringement if the product is also widely used for legitimate, unobjectionable

   purposes or is merely capable of substantial noninfringing use.” Arista Records LLC v. Lime

   Grp., LLC, 784 F. Supp. 2d 398, 432 (S.D.N.Y. 2011). “The [Sony] rule requires a court to

   determine whether a product or service is capable of substantial noninfringing uses, not whether



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   it is currently used in a non-infringing manner.” Smith v. BarnesandNoble.com, LLC, No. 1:12-

   cv-04374, 2015 WL 6681145, at *7 (S.D. Fla. Nov. 2, 2015) (citing ReDigi, 934 F. Supp. 2d at

   659).

           Defendants move for summary judgment as to this element and argue that the Websites

   are capable of substantial noninfringing uses because SSM initially started as an online dating

   website, and it now hosts videos on its Websites. Bolotin Decl. ¶¶ 3-4. Furthermore, users of

   Defendants’ Websites are able to upload videos, playback videos, and organize videos on any of

   the four Websites at issue. Bolotin Dep. 48:10-21. In responding, Plaintiff fails to establish that

   the Websites are incapable of being used for any purpose other than the dissemination and

   posting of copyrighted videos. Instead, Plaintiff argues that the reasoning in the Sony case is

   inapplicable because it focused on the sale of products, not the use of a website. In a conclusory

   manner, Plaintiff argues that “there is nothing about the infringing videos that has a non-

   infringing purpose.” While the record is clear that at times, third-party users of Defendants’

   Websites upload copyrighted material, there is record evidence that the Websites are capable of

   being used for purposes other than copyright infringement.

           The Court acknowledges that Sony addressed the sale of products; however, that opinion

   was written long before the advent of the Internet. In Metro-Goldwyn-Mayer Studios Inc. v.

   Grokster, Ltd., 380 F.3d 1154 (9th Cir. 2005), the plaintiffs alleged a claim for contributory

   infringement against defendants. The defendants argued that the Grokster P2P file-sharing

   program was capable of supporting substantial noninfringing uses, including the ability to

   exchange authorized files, including authorized digital recordings, digital files of public domain

   works, and authorized software files. Id. at 1161. Based upon this, the Ninth Circuit found that

   the defendants’ evidence established that Grokster was “capable of substantial noninfringing”



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   uses and granted summary judgment in favor of defendants on the contributory infringement

   claim. Id. In reviewing the Ninth Circuit’s opinion, the Supreme Court found that at the time of

   the lawsuit, Grokster’s products were, and had been for some time, overwhelmingly used to

   infringe, and that this infringement was the overwhelming source of revenue from the products.

   Because defendants’ evidence of some non-infringing uses was insufficient, the Supreme Court

   vacated the Ninth Circuit’s opinion and remanded the case to the district court. Metro-Goldwyn-

   Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 932-33 (2005).

          Unlike Grokster, there is no record evidence that Defendants derived any revenue from

   Plaintiff’s copyrighted videos. Defendants have demonstrated that their Websites are capable of

   substantial noninfringing uses, notwithstanding that copyrighted material is, at times, located on

   their Websites. The Court is satisfied that Defendants have met their burden in establishing that

   its Websites are capable of substantial, noninfringing purposes, which are legitimate and

   unobjectionable. Therefore, Plaintiff is unable to succeed on its contributory copyright claim,

   and Defendants’ Motion to Dismiss as to Count II is GRANTED.

          B. Count III: Vicarious Copyright Infringement

          To prevail on a claim for vicarious infringement, a plaintiff must allege that the defendant

   “infringes vicariously by profiting from direct infringement while declining to exercise a right to

   stop or limit it.” MGM Studios, 545 U.S. at 930. With regard to federal copyright law, “[a] party

   infringes vicariously by ‘profiting from direct infringement while declining to exercise a right to

   stop or limit it.’” Coach, Inc. v. Swap Shop, Inc., 916 F. Supp. 2d 1271, 1282 (S.D. Fla. 2012)

   (citing Pegasus Imaging Corp. v. Northrop Grumman Corp., No. 8:-07-CV-1937-T-27EAJ, 2008

   WL 5099691 (M.D. Fla. Nov. 25, 2008)). The defendant must have the right and ability to

   supervise the infringing activity and must have a direct financial interest. Id. (citing Casella v.



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   Morris, 316 F.2d 304, 307 (2d Cir. 1963)); see also Gershwin, 443 F.2d at 1152 (holding that

   vicarious liability for copyright infringement occurs when one has the right and ability to

   supervise the infringing activity and also has a direct financial interest in such activities).

           Plaintiff argues that Defendants had the ability to stop the infringement, but declined to

   do so. Furthermore, Plaintiff argues that the entirety of SSM’s revenue comes from advertising

   on its websites. Plaintiff’s position is that because SSM is compensated by advertisers based

   upon the number of Internet users directed to the advertisers’ sites from the SSM websites, the

   attractiveness of the content on the websites will directly influence the number of users that

   respond to the advertisements. Because advertising monies are based upon the draw of the

   videos, the sites themselves report the draw of each infringing video, and therefore, the existence

   of Plaintiff’s infringing work on the websites financially benefits Defendants. In response,

   Defendant argues that SSM’s revenue comes only from advertisements, and the advertisers are

   not solicited with infringing content and do not select what content they appear alongside. It

   cannot be said that Defendant’s financial benefit is attributable to the infringed videos.

           The Court agrees with Defendants that there is no record evidence to substantiate that

   Defendants have received a direct financial benefit from the uploading of Plaintiff’s videos. See

   Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1117 (9th Cir. 2007) (finding that the relevant

   inquiry for a direct financial benefit is “whether the infringing activity constitutes a draw for

   subscribers, not just an added benefit”). It is undisputed that Defendants’ revenues stem solely

   from advertising. There is no evidence that Plaintiff’s copyrighted videos drew additional traffic

   to Defendants’ Websites. Plaintiff’s argument that the infringed videos somehow attracted and

   drew more visitors to Defendants’ Websites, which allowed Defendants to receive more revenue




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   in advertisements, is not supported by record evidence and highly speculative. Accordingly,

   Defendants’ Motion for Summary Judgment as to Count III is GRANTED.

          C. Count IV: Inducement of Copyright Infringement

          Under Supreme Court precedent, a defendant may be liable for inducing copyright

   infringement if he “distributes a device with the object of promoting its use to infringe copyright,

   as shown by clear expression or other affirmative steps taken to foster infringement.” See Metro-

   Goldwyn-Mayer Studios Inc., 545 U.S. at 936-37.            Even where a defendant is aware of

   infringement, “mere knowledge of infringing potential or of actual infringing uses would not be

   enough to subject a distributor to liability.     Nor would ordinary acts incident to product

   distribution . . . The inducement rule, instead, premises liability on purposeful, culpable

   expression and conduct, and thus does nothing to compromise legitimate commerce or

   discourage innovation of having a lawful purpose.” Id. at 937.

          Defendants argue that they cannot be liable for inducement of copyright infringement

   because SSM has not induced or encouraged any user to engage in direct infringement. Bolotin

   Decl. ¶ 40. Plaintiff neither responds to Defendants’ arguments as they pertain to Count IV, nor

   does Plaintiff move for summary judgment as to Count IV in its briefing. Aside from Plaintiff’s

   failure to respond to Defendants’ arguments, the Court agrees with Defendants that there is no

   record evidence that Defendants induced the third-party users’ into uploading copyrighted

   material. To the contrary, the record is clear that Defendants operated as passive internet service

   providers.   Accordingly, Defendants’ Motion for Summary Judgment as to Count IV is

   GRANTED.

          Because the Court finds that Defendants are not liable for Plaintiff’s copyright

   infringement claims, there is no need to analyze the parties’ arguments as they pertain to



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   Defendants’ DMCA safe harbor affirmative defense. See Disney Enters., 2013 WL 6336286, at

   *19 (“A party asserting DMCA’s safe harbor as an affirmative defense to a claim of copyright

   infringement has the burden of demonstrating entitlement to its protections.”).

   3.       COUNT V: UNAUTHORIZED PUBLICATION OF NAME AND LIKENESS IN
            VIOLATION OF FLORIDA STATUTE SECTION 540.08

            Section 540.08 of the Florida Statutes provides, in pertinent part:

                   No person shall publish, print, display or otherwise publicly use for
                   purposes of trade or for any commercial or advertising purpose the name,
                   portrait, photograph, or other likeness of any natural person without the
                   express written or oral consent to such use given by . . . [s]uch person; or .
                   . . [a]ny other person, firm or corporation authorized in writing by such
                   person to license the commercial use of her or his name or likeness; . . .

                   In the event the consent required . . . is not obtained, the person whose
                   name, portrait, photograph, or other likeness is so used . . . may bring an
                   action to enjoin such unauthorized publication, printing, display or other
                   public use, and to recover damages for any loss or injury sustained by
                   reason thereof, including an amount which would have been a reasonably
                   royalty, and punitive or exemplary damages.

   Fla. Stat. § 540.08; see also Lane v. MRA Holdings, LLC, 242 F. Supp. 2d 1205, 1213 (M.D. Fla.

   2002).

            In moving for summary judgment as to Count V, Plaintiff reiterates the factual

   allegations contained within its Complaint in a conclusory fashion and fails to cite to any record

   evidence. Specifically, Plaintiff argues that Plaintiff’s photographs and videos depict models,

   who performed for Plaintiff under contract, and that pursuant to such contracts, the models

   released their rights and interest in their images to Plaintiff for their appearance in the video.

   D.E. 1 ¶¶ 156-59. Plaintiff argues that as a result of Defendants’ use of these videos, Defendants

   gained a pecuniary benefit, which was used for its own commercial benefit. D.E. 1 ¶¶ 160-61.

            Defendants also move for summary judgment as to this claim and argue that they cannot

   be held liable under section 540.08 of the Florida Statutes because: (1) pursuant to 47 U.S.C. §

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   230, no provider of an interactive computer service shall be treated as the publisher of

   information provided by a third-party user; (2) the fact that the models in Plaintiff’s videos

   consented to the use of their name and likeness in Plaintiff’s videos through their contracts with

   Plaintiff nullifies the lack of consent element necessary under section 540.08; and (3) SSM did

   not use the models’ images for trade, commercial, or advertising purposes. In responding to

   Defendants’ Motion as to Count V, Plaintiff fails to raise any argument.

          Notwithstanding Plaintiff’s failure to address Defendants’ arguments, the Court agrees

   with Defendants that there is no record evidence that Defendants used the specific models’

   names, images, or likeness for trade, commercial, or advertising purposes. See Lane, 242 F.

   Supp. 2d at 1213 (“The names, likeness, and other indicia of a person’s identity are used ‘for the

   purposes of trades’ . . . if they are used in advertising the user’s goods or services, or are placed

   on merchandise marketed by the user, or are used in connection with services rendered by the

   user.”). Furthermore, as addressed above, there is no evidence that Defendants derived any

   pecuniary benefit from the use of Plaintiff’s copyrighted videos.          The record is clear that

   Defendants’ revenue stems solely from advertisements placed on its Websites, and Defendants

   did not receive a financial benefit from the copyrighted videos. SSM Int. Resp., p. 12; Bolotin

   Decl. ¶ 19.    Accordingly, Defendants’ Motion for Summary Judgment as to Count V is

   GRANTED.

   4.     COUNTS VI-VIII: TRADEMARK INFRINGEMENT, CONTRIBUTORY
          TRADEMARK INFRINGEMENT, AND FALSE DESIGNATION OF ORIGIN
          UNDER THE LANHAM ACT

          Defendants do not move for summary judgment as to Plaintiff’s trademark infringement

   claims. In its Motion, Plaintiff moves for summary judgment as to its trademark infringement

   claims; however, Plaintiff fails to even set forth the elements necessary to succeed on its



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   trademark claims. To establish a prima facie case of trademark infringement under § 43(a), a

   plaintiff must show: “(1) that it had trademark rights in the mark or name at issue and (2) that the

   other party had adopted a mark or name that was the same, or confusingly similar to its mark,

   such that consumers were likely to confuse the two.” Lone Star Steakhouse & Saloon, Inc. v.

   Longhorn Steaks, Inc., 106 F.3d 355, 358 (11th Cir. 1997); see also Suntree Techs., Inc. v.

   Econsense Intern., Inc., 693 F.3d 1338, 1346 (11th Cir. 2012) (“In order to prevail on federal

   claim of trademark infringement and unfair competition, a trademark owner ‘must show (1) that

   it had trademark rights in the mark or name at issue and (2) that the other party had adopted a

   mark or name that was the same, or confusingly similar to its mark, such that consumers were

   likely to confuse the two.”).

          In blanket terms, Plaintiff argues that Defendants violated Plaintiff’s trademarks by

   “including Hydentra’s trademarks in the meta tags of SSM’s web sites.” To assess “use in

   commerce,” which inquires “whether a party has established prior use of a mark sufficient to

   establish ownership,” the Eleventh Circuit has adopted a two-part test. Bronstein v. Bronstein,

   No. 06-80656-CIV, 2007 WL 646965, at *9 (S.D. Fla. Feb. 27, 2007) (citing Planetary Motion,

   Inc., 261 F.3d at 1195). “To prevail, a party must establish ‘evidence showing, first adoption,

   and second, use in a way sufficiently public to identify or distinguish the marked goods in an

   appropriate segment of the public mind as those of the adopter of the mark, is competent to

   establish ownership, even without evidence of actual sales.’” Id. at *9; see Planetary Motion,

   261 F.3d at 1195 (“[T]he use of a mark in commerce also must be sufficient to establish

   ownership rights for a plaintiff to recover against subsequent users under section 43(a) . . .

   Courts generally must inquire into the activities surrounding the prior use of the mark to

   determine whether such an association or notice is present.”). Although with a little effort



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   Plaintiff likely could meet the standard necessary to establish that it used its Marks in commerce,

   it has failed to produce sufficient evidence at this stage to allow the Court to reach this

   conclusion.

          As to the actual confusion prong, Plaintiff relies on the “initial interest confusion”

   doctrine. “Initial interest confusion . . . occurs when a customer is lured to a product by the

   similarity of the mark, even if the customer realizes the true source of the goods before the sale is

   consummated.” USA Nutraceuticals Grp., Inc. v. BPO Sports, LLC, 2016 WL 695596 (S.D. Fla.

   2016) (citing Promatek Indus., Ltd. v. Equitrac Corp., 300 F.3d 808, 812 (7th Cir. 2002)).

   Defendants argue that “initial interest confusion” is not actionable in the Eleventh Circuit Court

   of Appeals. The Court disagrees with Defendants’ statement; rather, the more correct statement

   is that the Eleventh Circuit has not yet had the opportunity to determine whether “initial interest

   confusion” is actionable. Because of that, district courts in this Circuit have been hesitant to

   adopt this approach; however, other Circuits have deemed this form of confusion to be

   actionable under the Lanham Act. Malletier v. Burlington Coat Factory Warehouse Corp., 426

   F.3d 532, 539 n.4 (2d Cir. 2005) (“[P]oint-of-sale confusion is not the only confusion which the

   Lanham Act seeks to prevent; other forms of confusion, including reverse confusion, initial

   interest confusion, and post-sale confusion may also be actionable.”); Playboy Enters., Inc. v.

   Netscape Commc’ns Corp., 354 F.3d 1020, 1025 (9th Cir. 2004) (“Although dispelled before an

   actual sale occurs, initial interest confusion impermissibly capitalizes on the goodwill associated

   with a mark and is therefore actionable trademark infringement.”).

          At this stage, the Court does not find it necessary to determine whether “initial interest

   confusion” is actionable. Regardless, Plaintiff still must meet the second prong of the Lanham

   Act analysis and prove that Defendants’ use of Plaintiff’s Marks resulted in consumer confusion.



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   Plaintiff’s analysis fails to address the factors that are necessary to establish this element. In

   evaluating whether there is a likelihood of confusion between two marks, the Eleventh Circuit

   applies a multi-factor test, evaluating the following seven factors: (1) strength of the mark

   alleged to have been infringed; (2) similarity of the infringed and infringing marks; (3) similarity

   between the goods and services offered under the two marks; (4) similarity of the actual sales

   methods used by the holders of the marks, such as their sales outlets and customer base; (5)

   similarity of advertising methods; (6) intent of the alleged infringer to misappropriate the

   proprietor’s good will; and (7) the existence and extent of actual confusion in the consuming

   public. Welding Servs., 509 F.3d at 1360. Of these factors, the type of mark and the evidence of

   actual confusion are the most important in this circuit. Dieter v. B&H Industries of Southwest

   Florida, Inc., 880 F.2d 322, 326 (11th Cir. 1989). Plaintiff has not set forth evidence to support

   any of these factors.

          The Court does not find there is a sufficient basis upon which this Court should enter

   summary judgment, and accordingly, Plaintiff’s Motion for Summary Judgment is DENIED.

   5.     DEFENDANT,          CONSTANTIN          LUCHIAN’S        MOTION        FOR     SUMMARY
          JUDGMENT

          In moving for summary judgment, Plaintiff does not draw any distinction between the

   named Defendants and does not set forth any specific evidence that would impose liability upon

   Luchian. Defendant, Constantin Luchian, moves for summary judgment and argues that there is

   no record evidence that he uploaded any of Plaintiff’s copyrighted files to Defendants’ Websites

   (Luchian Decl. ¶ 14); Luchian did not cause or contribute the allegedly infringing behavior (id.);

   he did not induce, encourage, or profit from the copyright infringement; and he did not use any

   individual’s name or likeness for liability under section 540.08 of the Florida Statutes.




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           In responding to Luchian’s Motion for Summary Judgment, Plaintiff relies upon Tucker’s

   Declaration for the purpose of establishing that only an individual who had access to Defendants’

   internal servers uploaded some of Plaintiff’s copyrighted photographs. Aside from the fact that

   this Court has disregarded his testimony as pure speculative testimony, the record evidence is

   clear that Luchian did not have access or control over Defendants’ Websites. Luchian Decl. ¶

   11. Plaintiff further asserts that “[b]ut for Mr. Luchian’s alleged mishandling of Plaintiff’s

   DMCA take-down and failure to deliver the notices to SSM, Plaintiff would not have incurred

   damages for an additional six months.” D.E. 122. Plaintiff cites no case law nor has this Court

   been able to locate case law that would hold a DMCA Designated Agent liable for direct

   infringement or infringement under a secondary liability theory due to an Agent’s mishandling of

   DMCA notices. However, based upon the legal standards addressed in this Order, there appears

   to be no basis to extend liability to such a situation.

           In opposing a motion for summary judgment, the non-movant is required to “go beyond

   the pleadings and by [its] own affidavits, or by the ‘depositions, answers to interrogatories, and

   admissions on file,’ designate ‘specific facts showing that there is a genuine issue for trial.’”

   Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). There is no record evidence whatsoever to

   establish that Luchian had any involvement with the facts of this case, other than being listed as

   the Designated DMCA Agent on the United States Copyright Office’s database. The Court finds

   Plaintiff has failed to meet its burden in establishing that there is a genuine dispute as to

   Luchian’s liability for the claims being asserted against him.          Accordingly, Defendant,

   Constantin Luchian’s Motion for Summary Judgment is GRANTED. It is hereby

           ORDERED AND ADJUDGED that Defendant, Constantin Luchian’s Motion for

   Summary Judgment (D.E. 72) is GRANTED. It is further



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           ORDERED AND ADJUDGED that Defendants, Sun Social Media, Inc. and Konstantin

   Bolotin’s Motion for Summary Judgment (D.E. 73) is GRANTED IN PART and DENIED IN

   PART.     Defendants’ Motion for Summary Judgment as to Counts I-V is GRANTED.

   Defendants’ Motion for Summary Judgment as to Counts VI-VIII is DENIED. It is further

           ORDERED AND ADJUDGED that Plaintiff’s Motion for Summary Judgment (D.E. 86)

   is DENIED.

           DONE AND ORDERED in Chambers, Miami, Florida, this 2d day of June, 2016.



                                                     ________________________________
                                                     UNITED STATES DISTRICT JUDGE
   cc: counsel of record.




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